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 Form 149
                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA
 In re:
                                                               Bankruptcy Case No.: 17−21173−CMB
 Richard D. Wyncoop                                            Issued Per Nov. 16, 2017 Proceeding
    Debtor(s)                                                  Chapter: 13
                                                               Docket No.: 34 − 12, 27
                                                               Concil. Conf.: at

                    ORDER OF COURT CONFIRMING PLAN AS MODIFIED
                     AND SETTING DEADLINES FOR CERTAIN ACTIONS

 (1.) PLAN CONFIRMATION:

         IT IS HEREBY ORDERED that upon consent of the Debtor(s), the Chapter 13 Plan dated
 April 25, 2017 is CONFIRMED as modified at the Plan confirmation hearing. Terms of the Plan not
 expressly modified by this Order remain in full force and effect. A copy of this Plan was previously
 mailed to you. Only those provisions which are checked below apply to this case:

      A. For the remainder of the Plan term, the periodic Plan payment is amended to be $3,115 as
      of December 2017. Debtor(s)' counsel shall file a motion to amend the income attachment order
      within seven (7) days of the date of this Order.

      B. The length of the Plan is increased to a total of months. This statement of duration of the
      Plan is an approximation. The Plan shall not be completed until the goals of the Plan have been
      achieved. The total length of the Plan shall not exceed sixty (60) months.

      C. Plan confirmation is on an interim basis only as a form of adequate protection. The Trustee
      is authorized to distribute to secured and priority creditors with percentage fees. A final plan
      conciliation conference will be held on at , in . If the Parties cannot resolve all disputes at the
      conciliation conference, a hearing will be scheduled and orally announced at the conclusion of
      the conference without any further written notice to any party. Parties are directed to monitor
      the Court's docket and read the Chapter 13 Trustee's minutes of the conciliation conference to
      the extent such parties desire more information regarding the outcome of the conciliation
      conference.

      D. Plan confirmation is subject to the resolution of all actions to determine the avoidability,
      priority, or extent of liens; including determination of the allowed amount of secured claims
      under 11 U.S.C. §506, disputes over the amount and allowance of claims entitled to priority
      under 11 U.S.C. §507, and all objections to claims.

      E. The allowed claims of general unsecured creditors shall be paid from available funds on a
      pro rata basis, which may represent an increase or decrease in the amount projected in the Plan.

      F.     shall be paid monthly payments of $ beginning with the Trustee's distribution and
      continuing for the duration of the plan term, to be applied by that creditor to it's administrative
      claim, budget payments and/or security deposit. These payments shall be at the third distribution
      level.

      G. The claims of the following creditors shall govern as to amount, classification and rate of
      interest (or as otherwise noted), unless the Debtor(s) successfully objects to the claim:
      Quantum3 Group, LLC at Claim No. 1 at zero percent; CIS Financial Services, Inc. at Claim
      No. 17 with payment changes implemented .

      H.    Additional Terms:
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 (2.) IT IS FURTHER ORDERED THAT THE FOLLOWING DEADLINES ARE
 ESTABLISHED:


 A.        Objections to the Plan. Pursuant to Fed.R.Bankr.P. 2002(b), this Order shall not become
 final for a period of twenty−eight (28) days. Any party in interest with an objection to any provision
 of this Confirmation Order must file a written objection within that twenty−eight (28) day period.
 Failure to timely object shall be deemed a waiver of all objections and an acceptance of the
 provisions of this confirmed Plan. The Trustee may disburse funds pursuant to this confirmation
 order upon it's entry.

 B.        Applications to retain brokers, sales agents, or other professionals. If the Plan
 contemplates sales of assets or litigation proceeds as a source of funding, Debtor(s) shall file
 motion(s) to employ the necessary professionals within thirty (30) days hereof.

 C.           Review of Claims Docket and Objections to Claims. Pursuant to W.PA.LBR
 3021−1(c)(2), the Debtor or Debtor's attorney, if represented, shall review the proofs of claim filed
 and shall file objections to any disputed claims within ninety (90) days after the claims bar date or,
 for late filed or amended claims, within ninety (90) days after they are filed and served. Absent an
 objection, the proof of claim will govern as to the classification and amount of the claim. Objections
 filed after the ninety (90) days specified herein shall be deemed untimely.

 D.         Motions or Complaints Pursuant to §§506, 507 or 522. All actions to determine the
 priority, avoidability, or extent of liens, all actions pursuant to 11 U.S.C. §§506, 507 and 522 shall be
 filed within ninety (90) days after the claims bar date.

 E.       Filing Amended Plans. Within fourteen (14) days after the Bankruptcy Court resolves the
 priority, avoidability, or extent of a lien, or any objection to claim, the Debtor(s) shall file an
 amended Plan to provide for the allowed amount of the claim if the allowed amount differs from the
 amount stated in the plan. Debtor(s) shall also file an amended Plan within thirty (30) days after the
 claims bar date(s) in the event that no objection is filed and the claim(s) as filed causes the Plan to be
 underfunded.
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 (3.)   IT IS FURTHER ORDERED THAT:


 A.        After the claims objection deadline, the Plan shall be deemed amended to conform to the
 claims filed or otherwise allowed. If the Plan expressly modified the terms of payment to any creditor
 pursuant to 11 U.S.C. §1322(b)(2), nothing in this Order shall be construed to change the payment
 terms established in the Plan.

 B.       Any creditor who files or amends a proof of claim shall serve a copy on the Debtor(s) or
 counsel for the Debtor(s).

 C.      Any creditor whose payment changes due to variable interest rates, change in escrow, or
 change in monthly payments, shall notify the Trustee, Debtor(s)' counsel and Debtor(s) at least
 twenty−one (21) days prior to the change taking effect.

 D.       Debtor's counsel must file a fee application in accordance with W.PA.LBR 2016−1 before
 attorney fees in excess of the "no look" provision (including retainer) will be allowed or paid.

 E.        The Trustee shall file a Certificate of Default and Request for Dismissal of the case in the
 event of a material Plan default. If the default involves failure to make a plan payment the case will
 result in dismissal without further hearing upon filing and service of an Affidavit of Default by the
 Trustee. The Trustee is not precluded from raising pre−confirmation defaults in any subsequent
 motion to dismiss.

 F.      In the event that any order is entered in this case granting relief from the automatic stay to a
 secured creditor, then the Trustee shall make no further disbursements to any creditor on account of
 any secured claim that is secured by the subject property, unless directed otherwise by further Order
 of Court.




 Dated: November 21, 2017

 cc: All Parties in Interest to be served by Clerk in seven (7) days
